     Case 4:20-cv-05640-YGR Document 705-3 Filed 05/18/21 Page 1 of 2



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 8                            UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10                                  OAKLAND DIVISION
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12   EPIC GAMES, INC.,                       Case No. 4:20-CV-05640-YGR

13                       PLAINTIFF and       [PROPOSED] ORDER GRANTING NON-
                         COUNTER-            PARTY NINTENDO OF AMERICA INC.’S
14                       DEFENDANT,          ADMINISTRATIVE MOTION TO SEAL
                                             PORTIONS OF REDLINED CONTENT
15         V.                                LICENSE AND DISTRIBUTION
                                             AGREEMENT
16   APPLE, INC.,

17                       DEFENDANT and
                         COUNTER-
18                       CLAIMANT.

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       [PROPOSED] ORDER GRANTING NON-PARTY NINTENDO OF AMERICA INC.’S ADMINISTRATIVE
                                      MOTION TO SEAL
     Case 4:20-cv-05640-YGR Document 705-3 Filed 05/18/21 Page 2 of 2



 1          On May 18, 2021, Non-Party Nintendo of America Inc. (“NOA”) filed an Administrative

 2   Motion to Seal Portions of Redlined Content License and Distribution Agreement (“CLDA”).

 3   Through its Motion, NOA moves to seal material in the redlined CLDA (Exhibit 1 to the Motion)

 4   that is highlighted in the unredacted (sealed) version submitted to the Court and redacted from the

 5   public version submitted to the Court.

 6          Having considered NOA’s Motion and supporting declaration,

 7          IT IS HEREBY ORDERED THAT the Motion is GRANTED and the information

 8   highlighted in the unredacted (sealed) version of the redlined CLDA (Exhibit 1 to the Motion) is

 9   sealed and shall remain under seal.

10          IT IS SO ORDERED.

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12   Dated: ____________, 2021

13                                                Honorable Yvonne Gonzalez-Rogers
14                                                United States District Judge
                                                  Northern District of California
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        [PROPOSED] ORDER GRANTING NON-PARTY NINTENDO OF AMERICA INC.’S ADMINISTRATIVE
                                       MOTION TO SEAL
